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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:13-CR-00084-GEB
12                 Plaintiff,
                                                        STIPULATION AND APPLICATION FOR A
13          v.                                          MONEY JUDGMENT; ORDER
14   SURJIT SINGH,
     RAJESHWAR SINGH, and
15   ANITA SHARMA
16                 Defendants.
17

18          The United States and defendant Anita Sharma stipulate to the entry of a Money Judgment based

19 on the Application of the United States, as set forth below:
20          1. The Indictment in this case charged defendant Anita Sharma with several counts of mail

21 fraud, bank fraud, and making false statements to banks. The Indictment included a forfeiture

22 allegation. The United States filed a Bill of Particulars seeking a personal forfeiture money judgment

23 against defendant Anita Sharma in the amount of $1.67 million.

24          2. On November 8, 2017, defendant Anita Sharma was found guilty of six counts of mail fraud,

25 bank fraud, and making false statements to a bank.
26          3. Defendant Anita Sharma stipulates and agrees to forfeit voluntarily and immediately $30,000,

27 as a personal money judgment pursuant to Fed. R. Crim. P. 32.2(b)(1), which reflects a reasonable

28 compromise between the parties for forfeiture purposes concerning the proceeds the defendant obtained
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29                                                                             Stipulation and Application for
                                                                                   a Money Judgment; Order
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 1 as a result of her bank and mail fraud, to which she has been found guilty.

 2            4. The government hereby applies for entry of a money judgment as follows:

 3                   a. Pursuant to 18 U.S.C. § 982(a)(2)(A) and Fed. R. Crim. P. 32.2(b)(1), the Court shall

 4 impose a personal forfeiture money judgment against defendant Anita Sharma in the amount of $30,000.

 5                   b. The above-referenced personal forfeiture money judgment is imposed based on

 6 defendant Anita Sharma’s convictions. Said amount reflects a reasonable compromise between the

 7 parties for forfeiture purposes concerning the proceeds the defendant obtained, which the defendant

 8 agrees is subject to forfeiture based on the offenses of conviction. Any funds applied towards such
 9 judgment shall be forfeited to the United States of America and disposed of as provided for by law.

10            5. Payment of the personal forfeiture money judgment should be made in the form of a cashier’s

11 check made payable to the U.S. Marshals Service and sent to the U.S. Attorney’s Office, Attn: Asset

12 Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento, CA 95814. An initial payment of $1,000 is due

13 on or before August 1, 2018. The remaining $29,000 shall be paid in $250 monthly payments due when

14 defendant Anita Sharma is released from custody until paid in full. Prior to the imposition of sentence,

15 any funds delivered to the United States to satisfy the personal money judgment shall be seized and held

16 by the U.S. Marshals Service in its secure custody and control.

17            6. This stipulation is not an admission of liability or guilt and in no way restricts or affects

18 defendant Sharma’s right to appeal the judgment or sentence in her criminal case.

19 Dated:        4/20/18                                     McGREGOR W. SCOTT
                                                             United States Attorney
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21                                                           /s/ Kevin C. Khasigian
                                                             KEVIN C. KHASIGIAN
22                                                           Assistant U.S. Attorney

23
     Dated:      4-19-2018                                   /s Anita Sharma
24                                                           ANITA SHARMA
                                                             Defendant
25
26
     Dated:      4/19/2018                                   /s/ Charles J. Woodson
27                                                           CHARLES J. WOODSON
                                                             Attorney for Defendant
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29                                                                                      Stipulation and Application for
                                                                                        a Money Judgment; Order
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 1                                                  ORDER

 2          For good cause shown, the Court hereby imposes a personal forfeiture money judgment against

 3 defendant Anita Sharma in the amount of $30,000. An initial payment of $1,000 is due on or before

 4 August 1, 2018. The remaining $29,000 shall be paid in $250 monthly payments due by the 5th of each

 5 month starting when defendant Anita Sharma is released from custody until paid in full.

 6          Any funds applied towards such judgment shall be forfeited to the United States of America and

 7 disposed of as provided for by law. Prior to the imposition of sentence, any funds delivered to the

 8 United States to satisfy the personal money judgment shall be seized and held by the FBI in its secure
 9 custody and control.

10          IT IS SO ORDERED.

11 Dated: April 23, 2018

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29                                                                                Stipulation and Application for
                                                                                  a Money Judgment; Order
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